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GAS 24SB       (Rev. 11/16)Judgment in a Criminal Case
DC Custody TSR



                                          United States District Court
                                                    SOUTHERN DISTRICT OF GEORGIA
                                                         SAVANNAH DIVISION

                  UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE


                             Felisha Dawn Bvrd
                                                                                    Case Number;             4:16CR00224-8
                                                                                    USM Number:              21605-021
                                                                                    LuAnn Roberts
                                                                                    Defendant's Attorney
THE DEFENDANT:

^ pleaded guilty to Count           36
□ pleaded nolo contendere to Count(s)                        which was accepted by the court.
□ was found guilty on Count(s)                        after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                     Nature of Offense                                                              Offense Ended         Count


21 U.S.C. § 843(b) and              Use of a communications facility                                                April 1,2016           36
21 U.S.C. § 843(d)

       The defendant is sentenced as provided in pages 2 through                    of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
IS Count           I                              lEI is   □ are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            January 5. 2017
                                                                            Date of Imposition of Judgment

                       o j


                                                                            Signature of Judge




                                                                            William T. Moore, Jr.
                                                                            Judge, U.S. District Court
         • C','
                                                                            Name and Title of Judge




                                                                            Date
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